Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 1 of 7




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  KATHERINE BROOKS,

                Plaintiff,

  v.

  ENHANCED RECOVERY CORPORATION, a Delaware corporation,

                Defendant.


                                COMPLAINT AND JURY DEMAND


                                          JURISDICTION

  1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

        Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                              VENUE

  3.    Venue is proper in this Judicial District.

  4.    The acts and transactions alleged herein occurred in this Judicial District.

  5.    The Plaintiff resides in this Judicial District.

  6.    The Defendant transacts business in this Judicial District.

                                             PARTIES

  7.    Plaintiff, Katherine Brooks, is a natural person.
Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 2 of 7




  8.    The Plaintiff resides in the City of Colorado Springs, County of El Paso, State of

        Colorado.

  9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

  10.   Defendant, Enhanced Recovery Corporation, is a Delaware corporation operating

        from an address at 8014 Bayberry Road, Jacksonville, Florida, 32256.

  11.   The Defendant’s registered agent in the state of Colorado is Capitol Corporate

        Services, 1638 Pennsylvania, Denver, Colorado, 80203.

  12.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  13.   The Defendant is licensed as a collection agency by the state of Colorado.

  14.   The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  15.   The Defendant regularly attempts to collect debts alleged to be due another.

                                FACTUAL ALLEGATIONS

  16.   Sometime before 2009 the Plaintiff allegedly incurred a financial obligation that

        was primarily for personal, family or household purposes namely an amount due

        and owing on a personal account (hereinafter the “Account”).

  17.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  18.   The Account went into default with the original creditor.

  19.   Sometime after the Account went into default the Account was placed or

        otherwise transferred to the Defendant for collection (Defendant’s Account #

        1868299).

  20.   The Plaintiff disputes the Account.
Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 3 of 7




  21.   The Plaintiff requests that the Defendant cease all communication on the

        Account.

  22.   In the year prior to the filing of the instant action the Plaintiff received telephone

        calls and voicemail messages from the Defendant and / or representatives,

        employees and / or agents of the Defendant who were attempting to collect the

        Account.

  23.   In the year prior to the filing of the instant action the Plaintiff called the Defendant

        and / or representatives, employees and / or agents of the Defendant in response

        to the telephone calls and voicemail messages.

  24.   The Defendant’s purpose for these telephone calls and voicemail messages was

        to attempt to collect the Account.

  25.   The telephone calls and voicemail messages conveyed information regarding the

        Account directly or indirectly to the Plaintiff.

  26.   The telephone calls and voicemail messages each individually constituted a

        “communication” as defined by FDCPA § 1692a(2).

  27.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant made telephone calls to the Plaintiff was to attempt to

        collect the Account.

  28.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant had telephone conversation(s) with the Plaintiff was to

        attempt to collect the Account.
Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 4 of 7




  29.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant received telephone call(s) from the Plaintiff was to

        attempt to collect the Account.

  30.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant left voicemail messages for the Plaintiff was to attempt

        to collect the Account.

  31.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that the Account would be reported to the credit

        bureaus until it is paid.

  32.   The representation stated in paragraph 31 was false and was a false

        representation in connection with the collection of a debt, the Account.

  33.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that she had to pay the Account to get the Account off

        of her credit reports.

  34.   The representation stated in paragraph 33 was false and was a false

        representation in connection with the collection of a debt, the Account.

  35.   The statements and actions were undertaken by the Defendant and its

        representatives, employees and / or agents as part of a campaign of abusive and

        unlawful collection tactics directed at the Plaintiff.
Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 5 of 7




  36.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute harassment or abuse and therefore violate FDCPA 1692d

        preface and d(2).

  37.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute false and misleading representations and means and

        violate FDCPA 1692e preface, e(2)(A), e(5), e(8), e(10) and e(11).

  38.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute unfair or unconscionable means to collect or attempt to

        collect a debt and violate FDCPA 1692f preface.

  39.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were attempts to frighten,

        harass and abuse the Plaintiff into paying the alleged debt.

  40.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were willful and intentional

        violations of the FDCPA.

  41.   As a consequence of the Defendant’s collection activities and

        communications, the Plaintiff has sustained actual damages.

                                   RESPONDEAT SUPERIOR

  42.   The representatives and / or collectors at the Defendant were employees of and

        agents for the Defendant at all times mentioned herein.

  43.   The representatives and / or collectors at the Defendant were acting within the

        course of their employment at all times mentioned herein.
Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 6 of 7




  44.   The representatives and / or collectors at the Defendant were acting within the

        scope of their employment at all times mentioned herein.

  45.   The representatives and / or collectors at the Defendant were under the direct

        supervision and control of the Defendant at all times mentioned herein.

  46.   The actions of the representatives and / or collectors at the Defendant are

        imputed to their employer, the Defendant.

  47.   As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

        the aforementioned damages.

                                COUNT I, FDCPA VIOLATIONS

  48.   The previous paragraphs are incorporated into this Count as if set forth in full.

  49.   The acts and omissions of the Defendant and its representatives, employees and

        / or agents constitute numerous and multiple violations of the FDCPA, including

        but not limited to § 1692d preface, d(2), § 1692e preface, e(2)(A), e(5), e(8),

        e(10), e(11) and § 1692f preface.

  50.   The Defendant’s violations are multiple, willful and intentional.

  51.   Pursuant to FDCPA section 1692k the Plaintiff is entitled to actual damages,

        statutory damages up to $1,000.00, reasonable attorney's fees and costs.
Case 1:10-cv-00910-WYD-MJW Document 1 Filed 04/22/10 USDC Colorado Page 7 of 7




                                JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

  Fed. R. Civ. Pro. 38.

                                        PRAYER

  WHEREFORE, the Plaintiff prays that the Court grants the following:

  1.   Actual damages under 15 U.S.C. § 1692k(a)(1).

  2.   Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

  3.   Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

  4.   Such other and further relief as the Court deems just and proper.

                                          Respectfully submitted,

                                          _s/ David M. Larson___________
                                          David M. Larson, Esq.
                                          405 S. Cascade Avenue, Suite 305
                                          Colorado Springs, CO 80903
                                          (719) 473-0006
                                          Attorney for the Plaintiff
